
Daily Medical Equipment Distribution Center, Inc., as Assignee of JEAN JEAN-PIERRE, Respondent,
againstAuto One Ins. Co., Appellant.



Appeal from an order of the Civil Court of the City of New York, Kings County (Robin S. Garson, J.), entered March 11, 2014. The order denied defendant's motion for summary judgment dismissing the complaint.




ORDERED that the order is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, defendant appeals from an order of the Civil Court which denied defendant's motion for summary judgment dismissing the complaint.
For the reasons stated in High Quality Med. Supplies, Inc., as Assignee of Charles Botwee v Mercury Ins. Group (— Misc 3d —, 2016 NY Slip Op — [appeal No. 2014-1081 K C], decided herewith), defendant has not demonstrated its entitlement to summary judgment dismissing the first cause of action.
Defendant sought summary judgment dismissing the remaining two causes of action on the ground that plaintiff's attempt to recover upon the claims underlying these causes of action is premature because verification is outstanding (see Central Suffolk Hosp. v New York Cent. Mut. Fire Ins. Co., 24 AD3d 492 [2005]). However, the affidavits submitted by defendant were insufficient to establish as a matter of law that defendant had mailed verification requests (see St. Vincent's Hosp. of Richmond v Government Empls. Ins. Co., 50 AD3d 1123 [2008]). Consequently, defendant has not demonstrated its entitlement to summary judgment dismissing the second and third causes of action.
Accordingly, the order is affirmed. 
Pesce, P.J., Aliotta and Solomon, JJ., concur.
Decision Date: October 05, 2016










